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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                 No. 4:07CR00133 JLH

ANDRE JEFFERSON                                                                 DEFENDANT

                                        JUDGMENT

       Pursuant to the Opinion and Order entered separately today, Jefferson’s pro se motion to

vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 is denied. A certificate of

appealability is denied.

       IT IS SO ORDERED this 2nd day of September, 2010.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
